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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION

  NORMAN JAY CARPENTER                                                   PLAINTIFF

              v.                 Civil No. 05-5153

  HOOD & STACY, P.A., RICKARD
  W. HOOD, BURTON E. STACY,
  JR., and COURTNEY M. WOLIN                                            DEFENDANTS


                                     O R D E R

        Now   on   this   19th    day    of   October,    2005,    comes    on    for

  consideration the parties’ joint Motion To Dismiss (document #6),

  and the Court, being well and sufficiently advised, finds that

  said motion should be, and same hereby is, granted, and this case

  is hereby dismissed with prejudice.

        IT IS SO ORDERED.



                                                /s/ Jimm Larry Hendren
                                              JIMM LARRY HENDREN
                                              UNITED STATES DISTRICT JUDGE
